Case: 3:21-cv-00314-MJN-PBS Doc #: 61 Filed: 04/20/22 Page: 1 of 1 PAGEID #: 1278




                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                           WESTERN DIVISION AT DAYTON

STATE OF ARIZONA, et al.,

        Plaintiffs,                                       Case No. 3:21-cv-314

vs.

JOSEPH R. BIDEN, et al.,                                  District Judge Michael J. Newman
                                                          Magistrate Judge Peter B. Silvain, Jr.
      Defendants.
______________________________________________________________________________

     ORDER: (1) GRANTING DEFENDANTS’ UNOPPOSED MOTION TO STAY
  PROCEEDINGS (DOC. NO. 60); AND (2) STAYING FURTHER PROCEEDINGS IN
        THIS COURT PENDING COMPLETION OF APPELLATE REVIEW
______________________________________________________________________________

        After due consideration, Defendants’ Unopposed Motion to Stay Proceedings (Doc. No.

60) is GRANTED. Further proceedings in this Court are stayed until appellate review of this

Court’s March 22, 2022 Order is fully concluded.

        IT IS SO ORDERED.

Date:   April 20, 2022                             s/Michael J. Newman
                                                   Hon. Michael J. Newman
                                                   United States District Judge
